  Case 1:13-cv-01366-PLM ECF No. 496 filed 04/26/18 PageID.7536 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN


                                           MINUTES
  Case Number             Date                     Time                 Place               Judge
   1:13-cv-1366        4/26/2018       9:34 a.m. - 11:14 a.m.        Kalamazoo         Paul L. Maloney
                                       11:29 a.m. - 12:25 p.m.
                                        2:35 p.m. - 2:40 p.m.

                                            CASE CAPTION
       Plaintiff:                                                         Defendant:
 HLV, LLC                                             Gary Stewart, Jr.


                                           APPEARANCES
       Attorney:                                                 Representing:
 J. Nicholas Bostic and
                                       Plaintiff
 Brittany Burke Dzuris

 Robert A. Callahan                    Defendant


                                            PROCEEDINGS


 NATURE OF HEARING: Jury Trial - day 6; closing arguments by both parties, jury
 instructions, jury deliberations; jury returns a verdict in favor of plaintiff on liability and for
 nominal damages only




Court Reporter: Kathleen Thomas                           Case Manager: A. Redmond
